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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

UNITED STATES OF AMERICAQ             )
                                      )       CRIMINAL ACTION NO.
        v.                            )         2:17cr108-MHT
                                      )              (WO)
MARTIN CAMARILLO and                  )
DANIEL GUZMAN                         )


                           OPINION AND ORDER

    This cause is before the court on (1) defendant

Martin Camarillo’s written motion to continue and (2)

defendant Daniel Guzman’s oral motion to continue.                     For

the reasons set forth below, the court finds that, for

both Camarillo and Guzman, jury selection and trial,

now set for May 15, 2017, should be continued pursuant

to 18 U.S.C. § 3161(h)(1).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer,      785   F.2d    1506,     1516   (11th   Cir.   1986),     the

court    is   limited      by   the   requirements     of   the   Speedy

Trial Act, 18 U.S.C. § 3161.              The Act provides in part:

              "In any case in which a plea of not
              guilty is entered, the trial of a
              defendant charged in an information
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              or indictment with the commission
              of an offense shall commence within
              seventy days from the filing date
              (and   making   public)    of   the
              information or indictment, or from
              the date the defendant has appeared
              before a judicial officer of the
              court in which such charge is
              pending,   whichever    date   last
              occurs."

§ 3161(c)(1).

      The    Act    excludes     from     the    70-day     period       any

continuance based on "findings that the ends of justice

served by taking such action outweigh the best interest

of the public and the defendant in a speedy trial."

§ 3161(h)(7)(A).         In granting such a continuance, the

court may consider, among other factors, whether the

failure to grant the continuance would “result in a

miscarriage of justice,” § 3161(h)(7)(B)(i), or “deny

the    defendant       ...     reasonable       time    necessary        for

effective preparation, taking into account the exercise

of due diligence.”           § 3161(h)(7)(B)(iv).

      The court concludes that the ends of justice served

by granting a continuance outweigh the interest of the

public as well as that of Camarillo and Guzman in a

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speedy     trial.        Camarillo       stated      in   his    unopposed

written motion to continue that, because the underlying

investigation for this case spans several States, he

needs    more    time    to   prepare     for       trial.      During    an

on-the-record       conference       call      on     April     14,    2017,

Camarillo elaborated that he wants to ensure that the

disposition of this case does not adversely impact his

interests in other jurisdictions that may bring related

charges.        During    the   April     14    call,     Guzman      orally

joined in the motion as well as the reasons given in

support of it.          Based on the representations made by

all parties, a continuance is warranted to enable both

Camarillo and Guzman to prepare effectively for trial

by thoroughly investigating the bases for this charge

and other potential, related charges.

                                  ***

    Accordingly, it is ORDERED as follows:

    (1) Defendant Martin Camarillo’s written motion for

           continuance (doc. no. 43) is granted.




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    (2)    Defendant     Daniel     Guzman’s      oral    motion        for

continuance, made on the record on April 14, 2017, is

granted.

    (3)    The    jury     selection       and    trial     for        both

defendants Camarillo and Guzman, now set for May 15,

2017, are reset for September 5, 2017, at 10:00 a.m.,

in Courtroom 2FMJ of the Frank M. Johnson Jr. United

States     Courthouse       Complex,       One     Church       Street,

Montgomery, Alabama.

    DONE, this the 17th day of April, 2017.

                                  _ /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
